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APPENDIX 10

Donovan v. Local Union &87,
United Rubber, Cork, Linoleum
and Plastic Workers of Am.

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111 LRRM 2736

1982 WL 31275 (M.D.Ga.), 111 L.R.R.M. (BNA) 2736

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(Publication page references are not available for this document.)

M.D.Ga., 1982,
Donovan, etc.
v
Local Union 887, United Rubber, Cork, Linoleum
And Plastic Workers Of America,
No. 81-41-Alb,

U.S. District Court, Middle District of Georgia

October 14, 1982

BNA Labor Relations Reporter Headnote - LRRM
Cases

LABOR-MANAGEMENT REPORTING AND
DISCLOSURE ACT

1. Union election - Secret-ballot requirement

C5368

M.D.Ga., 1982.

Union viclated Section 401(b) of LMRDA by
holding election on lawn outside plant and giving
members option of voting at one of two sets of
tables, where one set was open to view with no
partitions. (1) Ballots cast by members who

chose to vote at this set of tables were not secret
ballots; (2) union is required not only to provide
facilities for members who wish to vote in secret,
but also to require that members use those facilities
when they vote; (3) it is immaterial whether
members who voted in election actually were
identified with respect to their choices.

DONOVAN v. RUBBER WORKERS, LOCAL
887

111 LRRM 2736

BNA Labor Relations Reporter Headnote - LRRM
Cases

LABOR-MANAGEMENT REPORTING AND
DISCLOSURE ACT

2. Union election - Breach of  secretballot
requirement - Relief

C5361

M.D.Ga., 1982.

Secretary of Labor is entitled to order setting
union election aside and directing union to conduct
new election under Secretary's supervision, where
there is prima facie showing that election was
affected by union's violation of  secret-ballot
requirement of Section 401(b) of LMRDA, and
union adduced no proofs to rebut that showing.
DONOVAN vy, RUBBER WORKERS, LOCAL
887

111 LRRM 2736

Full Text of Opinion

ELLIOTT, Senior District Judge: -

The Plaintiff brought this action under Title IV of
the Labor-Management Reporting and Disclosure
Act of 1959 (29 US.C. § 401, et seq.), hereinafter
referred to as the Act, in order to have the result of
the Defendant's November 19, 1980 election of
officers set aside and a new election scheduled
under the supervision of the Plaintiff. The parties
have stipulated all the pertinent facts and the
Plaintiff and the Defendant have each filed motions
for summary judgment and it appears that the case
is appropriate for disposition by summary
judgment, there being no issue of material fact.

On November 19, 1980 the Defendant scheduled
and conducted an election for its officers. The
election was held on the lawn outside of the
Firestone Tire & Rubber Company plant in Albany,
Georgia. Upon receiving a ballot the Union
members as voters had the option of voting at one
of two sets of tables. One set of tables had partitions
which prevented the voter from being observed
while making his choices, however, the other set of
tables was open to view with no partitions or other
safeguards, thus a voter who chose to mark a ballot
at the open table could be viewed and identified

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{Publication page references are not available for this document.)

with his ballot choices. It is thus clear that the
ballots which were cast by those who marked their
ballots at the unprotected table were not secret
ballots, and Section 401(b) of the Act requires
every local labor organization to elect its officers by
secret ballot and Section 3(k) of the Act defines a
secret ballot as one "which is cast in such a manner
that the person expressing such choice cannot be
identified with the choice expressed". In furtherance
of this secret ballot mandate regulations
promulgated by the Department of Labor set out
how such secrecy may be assured. 29 CFR. §
452.97.

Moreover, decisions of the Third and Seventh
Circuit Courts of Appeal have held that it is
insufficient for a union to merely provide facilities
for those who wish to vote in secret - it must require
that its members use those facilities when they vote.
Marshall v. Local Union 12447, United
Steelworkers, 591, F2d 199, 202, 100 LRRM 2383
(3 Cir. 1978); Brennan v. Local 3489, United
Steelworkers, 520 F.2d 516, 522, 89 LRRM 3211
(7 Cir, 1975).

Further, once it is shown that the methods
employed for the election were deficient because
voters could have been identified with their choices,
it is not required that the evidence show that the
Union members were actually so identified in
connection with their choices. Marshall v. Local
Union 12447, supra.

Thus, under the circumstances here presented, it
cannot be questioned that the Defendant labor
organization violated Section 401(b) of the Act and
when a violation of this section occurs during the
conduct of an election Section 402(c} of the Act
requires that the results of the election be set aside
and a new election held under the supervision of the
Secretary if the violation "may have affected" the
outcome of the election and proof of a violation of
Section 401 has the effect of establishing a prima
facie case that the violation may have affected the
outcome of the election, Wirtz v. Hotel Employees,
Local 6, 391 U.S. 492, 506, 68 LRRM 2305 (1968).
And once a prima facie case has been established it
is the Defendant's burden to rebut this presumption.

In this case no evidence has been submitted to rebut
the presumption of an effect on the election.

While this Court has no desire to interfere in the
internal affairs of the Defendant Union, we
nevertheless deem it the Court's duty to sustain the
Plaintiff's motion for summary judgment and direct
that a new election be conducted under the
supervision of the Secretary of Labor. Accordingly,
the Plaintiffs motion for summary judgment is
sustained and judgment will be entered accordingly.
Plaintiff's counsel will submit a suggested form of
judgment to be entered in this case.

IT IS SO ORDERED this 13th day of October,
1982,

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